Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 1 of 78




                                              2:25-cv-00701-RSM-DWC
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 2 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 3 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 4 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 5 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 6 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 7 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 8 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 9 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 10 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 11 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 12 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 13 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 14 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 15 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 16 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 17 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 18 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 19 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 20 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 21 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 22 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 23 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 24 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 25 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 26 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 27 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 28 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 29 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 30 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 31 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 32 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 33 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 34 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 35 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 36 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 37 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 38 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 39 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 40 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 41 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 42 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 43 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 44 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 45 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 46 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 47 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 48 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 49 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 50 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 51 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 52 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 53 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 54 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 55 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 56 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 57 of 78
                                                     2:25-cv-00701-RSM-DWC
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 58 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 59 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 60 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 61 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 62 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 63 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 64 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 65 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 66 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 67 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 68 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 69 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 70 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 71 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 72 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 73 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 74 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 75 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 76 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 77 of 78
Case 2:25-cv-00701-RSM-DWC   Document 9   Filed 04/22/25   Page 78 of 78
